Case 2:97-cv-01554-JAK-RC Document 115 Filed 05/18/98 Page 1 of 5 Page ID #:9646



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         Attorneys for Defendants
     711 Boeing North American, Inc. and

     8
         Rockwell International Corp.
                                                                               {)
     9                                  UNITED STATES DISTRICT COURT

    10                                  CENTRAL DISTRICT OF CALIFORNIA

    11       LAWRENCE O'CONNOR, et al.,                   Case No. CV 97-1554 ABC (RCx)

    12                    Plaintiffs,                     DECLARATION OF JAMES A.
                                                          CHALMERS, Ph.D., IN SUPPORT OF
    13             vs.                                    DEFENDANTS' OPPOSITION TO
                                                          PLAINTIFFS' RENEWED MOTION FOR
    1411 BOEING NORTH AMERICAN, INC., et                  CLASS CERTIFICATION
         al.,
    15                                                    Hearing Date:       July 13, 1998
                   Defendants.                            Time:               9:30a.m.
    16                                                    Courtroom:          Hon. Audrey B. Collins

    17

    18                   I, James A. Chalmers, Ph.D., say:

    19

    20                   1.     I previously submitted a Declaration in Support of Defendants'

    21      Opposition to Plaintiffs' Motion for Class Certification, a true and correct copy of which

    22      Declaration is marked Exhibit A and attached hereto. I have reviewed the Declaration

    23 II of John D. Radke in Support of Plaintiffs' Motion for Class Certification.
    24
    25                                      RESIDENTIAL PROPERTY

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    27                   2.     Estimating the value of residential property requires individualized and

    28 II specific analysis of the subject property.       The appraisal professional relies on the


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Case 2:97-cv-01554-JAK-RC Document 115 Filed 05/18/98 Page 2 of 5 Page ID #:9647



     1 II physical inspection and analysis of relevant property characteristics to value residential

     2 II property .   It requires the judgment of an experienced appraiser t o incorporate such

     3 II factors as the condition of the property and the desirability of the neighborhood to make

     4 II sound value judgments. For example, a property with a badly dilapidated roof may sell

     511 for a substantial discount relative to an identical property with a new, high-quality roof.

     6 II The value of a property may also be discounted if the neighboring properties suffer from

     711 unsightly deferred maintenance. There is no practical way to incorporate this type of

     811 important     information into a statistical analysis of historical sales.

     9

    10                   3.      The process of estimating the impairment to the value of residential

    11 II property is even more individualized and specific . Impairment to residential property can

    12 11 result from any number of unique circumstances.               For example, the Northridge

    13 II earthquake caused severe structural damage to many residential properties in 1994.

    1411 However, not all properties were similarly damaged.             Of two identical properties

    15 11 side-by-side, one may have been leveled while the other was unaffected. Insurance

    1611 companies , using statistical analysis or other methods, could make generalizations about

    1711 the location, type, and magnitude of likely claims; yet, they would never pay claims

    1811 absent physical      inspection of each property.

    19

    20                   4.      Statistical analysis of group data can be useful in studying and

    2111 making gross generalizations about residential property values. In his Declaration, Prof.

    22 11 Radke proposes the use of statistical analysis to study the values of property and the

    23 II myriad of factors that influence those values.       However, statistical analysis of group

    2411 data cannot be used to predict the value of individual residential properties with any

    25 II degree of reliability because of the highly individualized and property specific issues

    2611 influencing value. Statistical analysis of data estimates the relationship between value

    2711 and other defined characteristics. However, as mentioned previously, many relevant

    28 II characteristics of residential property cannot be included in the analysis. For example,


                                                       -2-
Case 2:97-cv-01554-JAK-RC Document 115 Filed 05/18/98 Page 3 of 5 Page ID #:9648



     1 II the condition of properties is highly variable and will produce large errors in the

     211 estimates of value for these properties.          Thus, the resulting estimate of value is

     3 II unreliable.

     4

     5                                         INCOME PROPERTY

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     711                   5.    The process of estimating the value of income property is an exercise

     8 II which is highly individualized and property specific. It requires inspection of the subject

     9 II property and analysis of the income generating ability of the property. Income property

    10 II is usually valued in terms of the income it is capable of providing.              Residential

    11 II apartments, retail, office, industrial and hotel properties would all be examples of

    1211 property types that would be classified as income property. To determine the income

    13 II producing ability of a property, it is necessary to understand the property's historical

    14111evels of operating income and expenses and to be able to forecast the income and

    1511 expenses into the future. These forecasts are highly dependent on the specifics of each

    1611 property and require the judgment of an experienced appraiser. Income property can

    17 II also be valued using the cost and sales comparison approaches to value . While often

    18 II used only as references for the value indicated by the income approach, the cost and

    19 II sales comparison approaches also require the knowledge and experience of an appraiser

    20   II to   make judgments about the factors specific to individual properties.

    21

    2211                   6.    Prof. Radke's proposed statistical analysis has no applicability to the

    23 II valuation of income property. To my knowledge, no statistically-based methodology to

    2411 value income property has ever been developed or accepted by the appraisal profession.

    25 II The most important factors in any income property valuation, operating income and

    26 II operating expenses, must be analyzed on a property by property basis by an experienced

    27 II appraiser. I am not aware of any studies in the accepted body of real estate appraisal

    28 II literature regarding the use of statistical analysis to value income property.        It is my


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Case 2:97-cv-01554-JAK-RC Document 115 Filed 05/18/98 Page 4 of 5 Page ID #:9649


    1 II opinion that the use of a statistically-based methodology to value income property would

     2 II not be acceptable under the provisions of the Uniform Standards of the Professional

     3 II Appraisal Practice, the real estate appraisal industry's guiding standard. Prof. Radke's

     411 proposed statistical analysis has no applicability to the valuation of income property.
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     6                                    SPECIAL USE PROPERTY

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     8                7.       Prof. Radke's proposed statistical analysis has no applicability to the

     9 II valuation of special use property. The purchase and sale of special use properties, such

    10 II as municipal facilities, occurs for reasons different from those applied to residential or
    11 II income properties.    Estimates of value and impairment for these types of properties

    1211 would require the application of methodologies quite different from those applied to
    13 II other property types and quite different from anything proposed for this case in Prof.

    1411 Radke's Declaration.
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Case 2:97-cv-01554-JAK-RC Document 115 Filed 05/18/98 Page 5 of 5 Page ID #:9650


     1                  I declare under penalty of perjury under the laws of the United States that

      211 the foregoing is true and correct.

      3



                                                                           ~
      4           DATED: May IS", 1998.

      5
                                                   ames A. Chalmers, Ph.D.
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